    Case 24-01008 Doc    23 Filed 01/31/25 Entered                01/31/25 16:07:13
               Desc   Main Document            Page               1 of 1


                                                                                     Filed & Entered
                       UNITED STATES BANKRUPTCY COURT                                   On Docket
                             DISTRICT OF VERMONT                                        01/31/2025



 IN RE: CHRISTOPHER J GONYA,                               Case No. 24-10176hzc
                                                                Chapter 7
 Debtor
                                                        Adv. Pro. No. 24-01008-hzc

 CHRISTOPHER J GONYA,

 Plaintiff

                    v.
 NAVIENT SOLUTIONS, LLC. ET AL.,

 Defendant


                                        ORDER

        This matter came upon consideration of the Motion to Drop Nelnet Services, LLC

d/b/a Firstmark Services as a Party Under Fed. R. Civ. P. 21 and/or to Dismiss the

Complaint Against It Under Fed. R. Civ. P. 12(b)(6) [ECF 18]. Following review of the

Motion, it is hereby ORDERED that the requested relief is GRANTED such that Nelnet

Services, LLC d/b/a Firstmark Services shall be removed as a defendant in the above-

captioned adversary proceeding. Nothing in this Order should be interpreted to dismiss

the adversary proceeding or impact the status of any other parties.




January 31, 2025                                _______________________________
Burlington, Vermont                             Heather Z. Cooper
                                                United States Bankruptcy Judge




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